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CRIMINAL PROCEEDINGS            U.S. DISTRICT COURT, EASTERN DISTRICT OF VA, RICHMOND DIVISION
JUDGE: Gibney                                                       DOCKET NOS. 3:13CR127
                                                                                    &3:11CR314
REPORTER: G. Halasz, OCR                                            DATE: 10/7/13



      UNITED STATES OF AMERICA                                             COUNSEL
                     v.



      JOSHUA CLAYTON BRADY                                          Mary E. Maguire. AFPD



APPEARANCES:         GOVERNMENT Michael C. Moore. AUSA
                     DEFENDANT WITH COUNSEL ( X )   DEFENDANT WITHOUT COUNSEL (                  )
                     DEFENDANT NOT PRESENT (     )  WAIVER OF APPEARANCE FILED (                 )

BAIL STATUS:         DEFENDANT ON BOND (          )     DEFENDANT INCARCERATED ( X ) BOND NOT SET (       )

TYPE OF              ARRAIGNMENT (           ) REARRA1GNMENT/GUILTY PLEA ( X)        MOTIONS (   )
PROCEEDINGS:         OTHER: and Supervised Release Violation Hearing

PRELIMINARY          WAIVER OF INDICTMENT EXECUTED, FILED (            )
PROCEEDINGS:         CRIMINAL INFORMATION FILED (   )
                     OTHER(      )


GUILTY PLEA                   DEFENDANT WITHDREW PLEA OF NG AS TO COUNT(S) 1 &2
PROCEEDINGS:                  DEFENDANT REARRAIGNED ON COUNT(S) 1 &2
                              PLEA BARGAIN AGREEMENT FILED (X)
                              STATEMENT OF FACTS FILED (X)   USED AS SUMMARY ( X)
                              DEFENDANT ENTERED PLEA(S) OF GUILTY AS TO COUNT(S) I &2
                           COURT ACCEPTED PLEA ( X ) GOVERNMENT SUMMARIZED EVIDENCE (                 )
                              JUDGMENT: DEFENDANT GUILTY AS CHARGED IN COUNT(S) 1 &2
                              PRESENTENCE REPORT ORDERED ( )   P.S.I. WAIVED ( X )
                              SENTENCING GUIDELINE ORDER ENTERED ( )

BOND HEARING                  DEFENDANT CONTINUED ON PRESENT BOND ( )    DEFT REMANDED ( X )
PROCEEDINGS:                  DEFENDANT PLACED ON PR BOND IN AMOUNT OF $                   (                  )
                              BENCH WARRANT TO ISSUE (  )    MOTION DENIED (   )


SUPERVISED RELEASE PROCEEDINGS:
                           •SnpnrvispH RHpnsp Violation in VI 1PR "SI 4 hnnrllprl as pnrt r»f i|ip plpn in
                           3:13CR127: The defendant plead guilty to the violation and found guilty bv the
                           Court: Dft's supervised release revoked and the defendant was sentenced on
                           the violation to 24 months imprisonment with credit for time served with no
                           further supervised release to follow (see pg. 2 of sentencing minutes in
                              13crl27 for recommendations to BOP)


CASE SET:            BEGAN:                    ENDED:               TIME IN COURT:



11 •2CWVV.                           4-1*1            ia:2fl pm                       I heme
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